    Case: 4:21-cv-00508-RWS Doc. #: 20 Filed: 07/27/21 Page: 1 of 1 PageID #: 89



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

CINDY LAUB,                                 )
                                            )
                   Plaintiff,               )
                                            )
             vs.                            )            Case No. 4:21 CV 508 RWS
                                            )
ALLSTATE TECHNICAL                          )
SOLUTIONS, INC., et al.,                    )
                                            )
                   Defendants.              )

                                       ORDER

      The Court having been advised that this action has been settled,

      IT IS HEREBY ORDERED that the August 20, 2021 Scheduling Conference

pursuant to Fed.R.Civ.P. 16 is vacated and all pending motions are denied without

prejudice.

      IT IS FURTHER ORDERED that counsel shall file, within thirty (30) days of

the date of this order, a stipulation for dismissal, a motion for leave to voluntarily

dismiss, or a proposed consent judgment. Failure to timely comply with this order shall

result in the dismissal of this action with prejudice.



                                        _______________________________
                                        RODNEY W. SIPPEL
                                        UNITED STATES DISTRICT JUDGE

Dated this 27th day of July, 2021.
